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                               IN THE UNITED STATES DISTRICT COURT
                                         DISTRICT OF UTAH


     MILLROCK INVESTMENT FUND 1, LLC,                              MEMORANDUM DECISION AND
                                                                   ORDER DENYING DEFENDANT
     Plaintiff,                                                     JUSTIN SMITH’S MOTION TO
                                                                             DISMISS
     v.
                                                                     Case No. 2:23-cv-00157-RJS-DAO
     HEALTHCARE SOLUTIONS
     MANAGEMENT GROUP, INC., et al.,                                Chief District Judge Robert J. Shelby

     Defendants.                                                     Magistrate Judge Daphne A. Oberg


             Now before the court is Defendant Justin Smith’s Motion to Dismiss. 1 For the reasons

 explained below, the court DENIES Smith’s Motion. 2

                                                 BACKGROUND

             The court takes the following facts from Plaintiff Millrock Investment Fund 1, LLC’s

 (Millrock) Complaint. 3 Millrock alleges improper transfers of money by an entity that was

 simultaneously in default on various loan and lease agreements.

                 Millrock is an investment and development fund that buys and sells commercial

 properties. 4 Defendant Healthcare Solutions Management Group, Inc. (HSMG), a publicly

 traded company, entered into a multi-unit development agreement with American Development

 Partners (ADP) to construct ambulatory surgical centers and advance care medical centers




 1
     Dkt. 75, Motion to Dismiss Defendant Justin Smith (Motion to Dismiss).
 2
  Pursuant to DUCivR 7-1(g), the court finds oral argument is not necessary for this motion and decides it on the
 papers.
 3
     Dkt. 28, Second Amended Complaint and Jury Demand (Complaint).
 4
     Id. ¶ 15.
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 throughout the country. 5 Millrock, through a partnership with ADP, purchased several

 commercial properties that would serve as sites for the advanced care centers and surgical

 centers. 6 HSMG and its affiliates entered into long-term leases for these facilities as tenants to

 operate urgent care centers. 7

             One such long-term lease involved a surgical center in Draper, Utah (Draper Lease). 8

 ADP entered into this lease as the landlord, with SARC by HSI – DRAPER, UT Inc. as the

 tenant. 9 Defendant Justin Smith—then HSMG’s CEO—signed for both SARC by HSI –

 DRAPER, UT Inc. as the lessee and for HSMG as the guarantor. 10

             Similarly, another long-term lease involved a surgical center in Keller, Texas (Keller

 Lease). 11 Millrock entered into this lease as the landlord, with SARC by HSI – KELLAR, TX

 Inc. as the tenant. 12 Defendant Justin Smith signed for both SARC by HSI – KELLAR, TX Inc.

 as the lessee and for HSMG as the guarantor. 13 According to Millrock, neither tenant—SARC

 by HSI – DRAPER, UT Inc. nor SARC by HSI – KELLAR, TX Inc.—exists. 14

             ADP assigned the Draper Lease to Millrock, who subsequently assigned both leases to

 certain investors as tenants-in-common. 15 In connection with development of the surgical

 centers, Millrock was required to pay ADP $2.55 million for the Draper project and $2.55


 5
     Id. ¶¶ 16, 73.
 6
     Id. ¶¶ 18–20.
 7
     Id. ¶¶ 19, 21.
 8
     Id. ¶¶ 20, 22–23.
 9
     Id. ¶ 23.
 10
      Id. ¶¶ 23, 25.
 11
      Id. ¶¶ 20, 22, 31.
 12
      Id. ¶ 31.
 13
      Id. ¶¶ 31, 33.
 14
      Id. ¶¶ 24, 32.
 15
      Id. ¶¶ 28–30, 36.

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 million for the Keller project as an equipment allowance (Equipment Allowance). 16 ADP would

 submit draw requests for the Equipment Allowance throughout the development projects and

 then immediately transfer the withdrawn funds to HSMG to purchase the necessary equipment

 for each facility. 17 HSMG was to provide equipment specifications to contractors but failed to

 provide the specifications and otherwise failed to complete both projects. 18

             Millrock eventually withheld the funds for the last Equipment Allowance draw for both

 projects. 19 In light of HSMG’s failure to comply with lease obligations to open and operate the

 medical facilities, Millrock and HSMG entered into a Loan Agreement and Promissory Note

 (Loan Agreement)—executed by Smith—in which Millrock loaned HSMG $350,000 to cover

 lease payments. 20 HSMG subsequently defaulted on the Loan Agreement by ceasing to make

 lease payments, among other contractual breaches. 21 Millrock also became aware that HSMG

 failed to use its Equipment Allowance as required—for equipment furniture, fixtures, and

 equipment purchases only. 22 On one occasion, while Millrock and ADP officials discussed

 HSMG’s late rents for various properties with Defendant Joshua Constantin—the

 comptroller/head of commercial real estate for HSMG—threatened to “empty the corporate

 shell” so that the lease assignees would “have nothing to come after.” 23




 16
      Id. ¶ 37.
 17
      Id.
 18
      Id. ¶¶ 41.
 19
      Id. ¶¶ 40–41.
 20
      Id. ¶¶ 42–45, 49–50.
 21
      Id. ¶¶ 59, 66.
 22
      Id. ¶¶ 38, 61–64.
 23
      Id. ¶¶ 61, 77.

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             Two months after Millrock mailed a Notice of Default and Acceleration of Debt to

 HSMG, HSMG filed a Form 8-K with the SEC indicating that Smith was removed as a member

 of the board effective immediately. 24 As part of Smith’s termination, HSMG agreed to pay

 Landes Capital Management, LLC (Landes) and Landes and Compagnie Trust Prive KB

 (Compagnie) $93,933,345.48 in exchange for 1 million shares of HSMG. 25 At that time, Smith

 had voting and dispositive control over the shares of both Landes and Compagnie. 26 Landes had

 in the past been found liable for disgorgement for having received “ill-gotten funds” for which

 Landes did not provide legitimate services. 27 According to the 8-K filing, the company had

 92,076,638 shares outstanding, $659,194 in cash, $93,129,332 in total assets, and $14,484,751 in

 total liabilities. 28 Around this same time, news reports indicated one of HSMG’s affiliate brands

 had failed to pay employee wages. 29

             Millrock named Smith two causes of action: Voidable Transfer and Alter Ego. 30

 Presently before the court is Smith’s Motion to Dismiss under Rules 12(b)(1), (2), and (6). This

 motion is fully briefed and ripe for review. 31




 24
      Id. ¶¶ 65, 74.
 25
      Id. ¶ 6–7, 74.
 26
      Id. ¶¶ 125–26.
 27
      Id. ¶ 76.
 28
      Id. ¶ 75.
 29
      Id. ¶ 70.
 30
      Id. ¶¶ 106–30.
 31
    Motion to Dismiss; Dkt. 127, Opposition to Motion to Dismiss Defendant Justin Smith (Opposition). No Reply
 was filed within 14 days after service of the Opposition as required by DUCivR 7-1(4)(A)(iv).

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                                                     LEGAL STANDARD

             The court is mindful that Smith proceeds pro se. Pro se litigants are held to less stringent

 standards than parties formally represented by lawyers, and their filings are “to be liberally

 construed.” 32 However, it is not “the proper function of the district court to assume the role of

 advocate for the pro se litigant” to salvage his claims. 33

             Smith requests the claims against him be dismissed for “failure to state a claim for relief,”

 lack of personal jurisdiction, and lack of standing. 34 In the Tenth Circuit, a standing challenge is

 generally considered an attack on the court's subject matter jurisdiction and reviewed under Rule

 12(b)(1). 35 Article III of the U.S. Constitution restricts federal court adjudication to actual cases

 or controversies. 36 To satisfy Article III's standing requirements, a plaintiff must show an “injury

 in fact,” causation, and redressability. 37 “The party invoking federal jurisdiction bears the

 burden of establishing these elements.” 38 A party never waives its ability to challenge subject

 matter jurisdiction, 39 but a challenge to personal jurisdiction is waived if not raised at the first

 opportunity in a responsive pleading. 40




 32
      Erickson v. Pardus, 551 U.S. 89, 94 (2007) (citation omitted).
 33
      Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991).
 34
      Motion to Dismiss at 1.
 35
      See Hill v. Vanderbilt Capital Advisors, LLC, 702 F.3d 1220, 1224–25 (10th Cir. 2012).
 36
      See Utah v. Babbitt, 137 F.3d 1193, 1201 (10th Cir. 1998).
 37
    Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000) (citing Lujan v.
 Defenders of Wildlife, 504 U.S. 555, 560–61 (1992)).
 38
      Lujan, 504 U.S. at 561 (citation omitted).
 39
      Fed. R. Civ. P. 12(h)(3).
 40
      Fed. R. Civ. P. 12(h)(1)(B); Williams v. Life Sav. & Loan, 802 F.2d 1200, 1202 (10th Cir. 1986).

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             A motion to dismiss for failure to state a claim “tests the sufficiency of the allegations

 within the four corners of the complaint after taking those allegations as true.” 41 “To survive a

 motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to ‘state a

 claim to relief that is plausible on its face.’” 42 A claim is facially plausible “when the plaintiff

 pleads factual content that allows the court to draw the reasonable inference that the defendant is

 liable for the misconduct alleged.” 43 This is “a context-specific task that requires the reviewing

 court to draw on its judicial experience and common sense.” 44 A complaint need not set forth

 detailed factual allegations, yet “[a] pleading that offers ‘labels and conclusions’ or a ‘formulaic

 recitation of the elements of a cause of action’” is insufficient. 45

                                                               ANALYSIS

             Smith appears to seek dismissal from this case by arguing 1) Millrock lacks standing to

 sue; 2) this court lacks personal jurisdiction over him; and 3) Millrock fails to state a claim.

 None of these arguments have merit.

             1. Millrock Has Standing to Sue Smith.

             Smith invokes rule 12(b)(1) and argues Millrock’s claims should be dismissed for “lack

 of standing” in his opening introduction paragraph before his “Memorandum of Points and

 Authorities.” 46 However, Smith does not mention subject matter jurisdiction, standing, nor the




 41
   Fed. R. Civ. P. 12(b)(6); Mobley v. McCormick, 40 F.3d 337, 340 (10th Cir. 1994) (citing Williams v. Meese, 926
 F.2d 994, 997 (10th Cir. 1991)).
 42
      Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)).
 43
      Iqbal, 556 U.S. at 678 (citing Bell Atl. Corp., 550 U.S. at 556).
 44
      Id. at 679 (citation omitted).
 45
      Id. at 678 (quoting Bell Atl. Corp., 550 U.S. at 555).
 46
      Motion to Dismiss at 1.

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 three components of standing anywhere else in his motion. 47 In any case, none of Smith’s

 arguments undermine Millrock’s claim it suffered an injury-in-fact, Smith caused the injury, and

 this court may grant relief for the injury. Millrock alleges it suffered a financial injury, that

 Smith was a party to a voidable transfer of money that caused the injury, and that this court can

 redress the injury by awarding money damages. 48 Millrock therefore has standing to sue.

            2. Smith Waived His Personal Jurisdiction Challenge.

            Smith waived his ability to challenge personal jurisdiction by filing an answer to

 Millrock’s Second Amended Complaint without raising lack of personal jurisdiction as an

 affirmative defense. 49 Accordingly, Smith’s challenge to personal jurisdiction is misplaced.

            3. Millrock Properly Stated Claims for Voidable Transfer and Alter Ego Against
               Smith.

            Under Utah law, a transfer is voidable by a creditor if (i) the debtor made the transfer

 with intent to hinder, delay, or defraud any creditor of the debtor, or (ii) if the transfer is made

 without receiving a reasonably equivalent value in exchange for the transfer, and the debtor was

 engaged or was about to engage in a business or a transaction for which the remaining assets of

 the debtor were unreasonably small in relation to the business or transaction. 50 Furthermore, a

 plaintiff may pierce the corporate veil under an alter ego theory when (1) there is unity of interest

 and ownership such that the separate personalities of the corporation and the individual no longer

 exist, and (2) “the observance of the corporate form would sanction a fraud or promote injustice,




 47
   See Friends of the Earth, Inc., 528 U.S. at 180–81 (identifying the three requirements of standing as injury in fact,
 causation, and redressability); see generally, Motion to Dismiss.
 48
      See generally, Motion to Dismiss.
 49
      See Dkt. 67, Answer to Second Amended Complaint; Fed. R. Civ. P. 12(b)(2), 12(h)(1)(B)(ii).
 50
      Utah Code Ann. § 25-6-202(1).

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 or an inequitable result would follow.” 51 This court has found even “thin support” for an alter

 ego claim is enough to meet the “threshold pleading requirement.” 52

             Smith argues Millrock has no basis for attributing personal liability to him for the actions

 he took as HSMG’s CEO. 53 Smith appears to acknowledge that, in some instances, a court may

 pierce the corporate veil to hold an officer personally liable for their acts or omissions

 undertaken as agents of the corporation. 54 But Smith misstates Millrock’s burden under Rule 12

 by insisting Millrock has failed to produce “clear and convincing” evidence to support its veil-

 piercing claim. 55 At this stage of the proceeding, Millrock needs only to offer sufficient factual

 allegations that, accepted as true, give rise to a reasonable inference the asserted claims are

 plausible. 56 Millrock has done so for both claims against Smith.

             Here, as to the voidable transfer claim, Millrock pleaded facts suggesting 1) HSMG

 agents deliberately manifested an intention to prevent Millrock from recovering on its lease and

 loan agreements; 57 2) Smith signed Lease Agreements on behalf of entities that did not exist; 58 3)

 Smith’s eventual separation from HSMG involved a substantial sum of money transferred from

 HSMG to entities purportedly controlled by Smith for disproportionate consideration during a

 time when HSMG was potentially approaching insolvency, as evidenced by loan defaults, the

 failure of an HSMG affiliate to pay wages, and HSMG’s mismanagement of Equipment




 51
      Jones & Trevor Mktg., Inc. v. Lowry, 284 P.3d 630, 635 (Utah 2012) (citation omitted).
 52
      Greco v. Subgallagher Inv. Tr., No. 220-CV-00610-JNP-CMR, 2021 WL 5579279, at *3 (D. Utah Nov. 29, 2021).
 53
      Motion to Dismiss at 3, 7–8.
 54
      Id.
 55
      Id. at 7.
 56
      See Iqbal, 556 U.S. at 678.
 57
      Complaint ¶ 61.
 58
      Id. ¶¶ 23–24, 31–32.

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 Allowances; 59 and 4) one entity receiving the transfer was previously found liable on a claim for

 disgorgement for having received ill-gotten funds for which the entity did not provide legitimate

 services. 60 Accordingly, the court concludes it can reasonably infer at the Rule 12 stage that

 HSMG’s capital transfer to entities controlled by Smith are voidable based on either an “intent to

 defraud” theory or a “disproportionate value” theory.

             With respect to the alter ego claim, Millrock alleges that Smith is the sole member of

 Landes and Compagnie, has ownership interests in the entities, and otherwise controls them. 61

 Moreover, Millrock alleges $93,933,345.48 was siphoned to Smith through these entities for the

 purpose of defrauding Millrock so that HSMG could avoid its debts. 62 The same facts giving

 rise to the inference the transfer was voidable also support the inference that observing corporate

 formalities with respect to HSMG “would sanction a fraud” giving rise to an alter ego claim. 63

             Finally, Smith also improperly asks this court to consider evidence attached to his Motion

 purporting to reflect HSMG’s indebtedness to him and to argue Landes and Compagnie

 undertook certain corporate formalities. 64 However, as Smith’s own Motion acknowledges, this

 court “may only consider the facts alleged in the complaint, documents attached as exhibits or

 incorporated by reference in the complaint and matters about which the Court may take judicial

 notice.” 65 In Smith’s Motion, he neither asserts that his exhibits are incorporated by reference in

 Millrock’s Complaint nor that this court may take judicial notice of particular facts contained



 59
      Id. ¶¶ 38, 59, 61–65, 70, 74–77, 126.
 60
      Id. ¶ 76.
 61
      Complaint ¶¶ 122–126.
 62
      Id. ¶¶ 127, 129.
 63
      Jones, 284 P.3d at 635.
 64
      Motion to Dismiss at 2–3, 7.
 65
      Id. at 3.

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 therein. However, even if the court were to consider them, the fact that 1) HSMG affiliates

 borrowed money from Smith and 2) that Landes and Compagnie held Board of Directors

 Meetings in 2023 and have bylaws do not undermine this court’s inferences drawn from

 Millrock’s Complaint that it plausibly stated claims for Voidable Transfer and Alter Ego against

 Smith.

                                           CONCLUSION

            For the foregoing reasons, Defendant Justin Smith’s Motion to Dismiss is DENIED. 66

            SO ORDERED this 25th day of November 2024.

                                                BY THE COURT:


                                                ________________________________________
                                                ROBERT J. SHELBY
                                                Chief United States District Judge




 66
      Dkt. 75.

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